       Case 2:09-cr-00224-WBS Document 42 Filed 07/26/10 Page 1 of 2


     Michael R. McDonnell
1
     LAW OFFICE OF McDONNELL & KENT, INC.
2    418 East La Habra Boulevard
     La Habra, California 90631
3    Telephone: (562) 694-3827
4    Facsimile: (562) 694-4380
     Email:      mike@mcdonnellandkent.com
5
     Saji Vettiyil, Esq., ABN 14284
6
     VETTIYIL & ASSOCIATES, P.C.
7    571 North Grand Avenue
     Nogales, Arizona 85621-2710
8    Telephone: (520) 281-1394
9    Facsimile: (520) 281-1396
     Email:        vettiyilandassociates@yahoo.com
10
     Attorneys for Defendant Jorge Gutierrez Camacho
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12
                                UNITED STATES DISTRICT COURT
13                             EASTERN DISTRICT OF CALIFORNIA
14

15   UNITED STATES OF AMERICA,        ) No. 2:09CR00224-WBS-2
                                      )
16            Plaintiff,              )
                                      )
17       vs.                          ) ORDER FOR STIPULATION TO
                                      ) CONTINUE STATUS CONFERENCE
18
     JORGE GUTIERREZ CAMACHO, et al., )
19                                    )
              Defendants.             )
20                                    )

21
              IT IS HEREBY ORDERED, that the Status Conference set for July 26, 2010 is
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23   continued to August 23, 2010 at 8:30 a.m. as to all defendants.

24            Based on the stipulations and representations of the parties, the Court finds that
25   the ends of justice outweigh the best interest of the public and Defendants in a speedy
26
     trial.
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      Case 2:09-cr-00224-WBS Document 42 Filed 07/26/10 Page 2 of 2


      Accordingly, time under the Speedy Trial Act shall be excluded under TITLE 18
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2    UNITED STATES CODE, §3161(H)(8)(B)(IV); LOCAL CODE T4 (REASONABLE TIME TO
3    PREPARE) up to and including August 23, 2010.
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      IT IS SO ORDERED
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     Date: July 23, 2010
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